Case 5:18-cv-00038-LGW-BWC Document 20 Filed 10/13/21 Page 1 of 4

In the Auited States District Court
for the Southern District of Georgia
Waycross Division

MANETIRONY CLERVRAIN, *
*&
Plaintiff, *
*
Vv. * No. 5:18-cv-038
*
TRACEY JOHNS, *
*
Defendant. *
ORDER

 

Before the Court is Plaintiff Manetirony Clervrain’s “Motion
for [‘Alien Status’] or [‘Pauperis Status’] or Criteria to Consider
by Invoking the Ant(s) Movement Act (‘TAMA’).” Dkt. No. 19.

BACKGROUND

On April 27, 2018, Plaintiff, while incarcerated at the D.
Ray James Correctional Facility in Folkston, Georgia, filed this
action to challenge the conditions of his confinement. Dkt. No.
1. On December 6, 2018, observing that Plaintiff’s “initial filing
appears to be a discovery motion but has been construed and
docketed as a Complaint,” the Court ordered Plaintiff to amend his
Complaint within fourteen days and provided Plaintiff with
additional instructions for doing so. Dkt. No. 9 at 4-5. The
Court cautioned Plaintiff that “failure to file an appropriate
Amended Complaint also could result in the dismissal of his cause

of action for failure to follow this Court’s Order.” Id. at 5.
Case 5:18-cv-00038-LGW-BWC Document 20 Filed 10/13/21 Page 2 of 4

Plaintiff filed no Amended Complaint. As a result, the Magistrate
Judge issued a Report and Recommendation recommending that
Plaintiff’s Complaint be dismissed for failure to prosecute and
failure to follow the Court’s Order. Dkt. No. 10. The Court
adopted the Report and Recommendation as the Order of the Court on
March 7, 2019, dkt. no. 12, and Judgment was entered on March 11,
2019, dkt. no. 13.

Since that time, Plaintiff has filed two miscellaneous
motions with the Court: a “Motion for Administrative Records, and
for Writ of Certiorari and for Questioning Prisoners Injustice
Reform Acts (‘*PICRA’),” dkt. no. 14, and a “Motion for Supplemental
Injustice Adversely Affected [‘The Ant’s’], and for [‘Related
Mat[t]lers’] for Justification Act (‘TAJA’),” dkt. no. 16. The
Court denied both motions. Dkt. Nos. 15, 17. According to the
Bureau of Prisons’ (“BOP”) website, Plaintiff was released from
BOP custody on August 29, 2019.!

DISCUSSION

Now, well over two years after Judgment was entered in this
case, Plaintiff files the instant motion, titled “Motion for
[*‘Alien Status’] or [‘Pauperis Status’] or Criteria to Consider by
Invoking the Ant(s) Movement Act (‘TAMA’).” Dkt. No. 19. It is
unclear what relief Plaintiff seeks in this Motion. Plaintiff

cites numerous statutes and caselaw unrelated to his original

 

1 See https://www.bop.gov/mobile/find_inmate/byname.jsp.
2
Case 5:18-cv-00038-LGW-BWC Document 20 Filed 10/13/21 Page 3 of 4

Complaint without explaining their relevance. Id. Indeed,
Plaintiff’s Motion is largely incomprehensible. On page twenty-
one of his thirty-page Motion, Plaintiff indicates that he wants
to “reopen[]” his case and “stop mass deportation.” Id. at 21.
Thus, the Court liberally construes Plaintiff’s motion as one to
reopen his case.

To the extent Plaintiff seeks to reopen his conditions-of-
confinement action, his motion is DENIED as moot due to his being
released from BOP custody. “[T]he general rule in this circuit is
that release of a prisoner will moot that prisoner's claims for
injunctive and declaratory relief from prison conditions.”

Enfinger v. Bllington, No. 212-CV-114-WHA, 2015 WL 427029, at *5

 

(M.D. Ala. Feb. 2, 2015) (citing Smith v. Allen, 502 F.3d 1255,
1267 (lith Cir. 2007); McKinnon v. Talladega Cty., Ala., 745 F.2d

1360, 1363 (llth Cir. 1984); Zatler v. Wainwright, 802 F.2d 397,

 

399 (11th Cir. 1986)). Finally, to the extent Plaintiff seeks to
challenge his own deportation (which is still unclear), his motion
is DISMISSED. This Court cannot grant Plaintiff the relief he
seeks; instead, he must petition the Board of Immigration Appeals.

See Medina-Menendez v. U.S. Atty. Gen., 574 F. App'x 912 (11th

 

Cir. 2014); Gonzales v. U.S. Atty. Gen., 432 F. App'x 927 (11th

 

Cir. 2011); Yang v. U.S. Att'y Gen., 149 F. App’x 911 (11th Cir.

 

2005).
Case 5:18-cv-00038-LGW-BWC Document 20 Filed 10/13/21 Page 4 of 4

CONCLUSION
To the extent Plaintiff seeks to reopen his conditions-of-
confinement action, his motion is DENIED as moot. To the extent
Plaintiff seeks to challenge his own deportation, his motion is

DISMISSED.

 
 
  
  

SO ORDERED, this am day of Ogtobgr

 

HON/ LISA GODBEY WOOD, JUDGE
TED STATES DISTRICT COURT
UTHERN DISTRICT OF GEORGIA
